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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:17-10103-STA
                                    )
JOHNNY CROSS,                      )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



      This cause came to be heard on July 3, 2018, Assistant United States Attorneys, Vic Ivy and Hillary
Parham, appearing for the Government and the defendant, Johnny Cross appearing in person, and with
counsel, Howard Manis.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 3 of the Superceding Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for MONDAY, OCTOBER 29, 2018 at 9:00 A.M., before
Chief S. Thomas Anderson.

       Defendant to remain released on present bond.

       ENTERED this the 3rd day of July, 2018.


                                                    s/ S. Thomas Anderson
                                                    CHIEF JUDGE, U. S. DISTRICT COURT
